\   I




                                     UNITED STATES DISTRICT COURT
                                                                                                                         FIL               D
                                    EASTERN DISTRICT OF TENNESSEE                                                         JU.~ i; 1 ZGZ4
                                       AT_ _ _ _ _ _ _ _ __                                                        Clerk, U. S. 01s•rict Court
                                                                                                                 Eastern D•:-,/r1ct c Tennesse<?
                                                                                                                       At Chattanooga
             5 lolld s.              fYl ·'s A1-e t_ )
                   :u,c s:                                 ~)
                                                           )
        Name ofplaintiff (s)                               )

        V.
                                                           )
                                                           )         Case No.                 t/:z1 ev-1«-T-ri~1-b k:'L
                                                           )                                 (to be assigned by Clerk)
                                                           )
                                                           )
                                                           )
                                                           )
                                                           )
        Name of defendant (s)                              )

                                                       COMPLAINT

        I . A short and plain statement of the grounds for filing this case in federal court (include federal
        statutes and/or U.S. Consti:utional_~rovisions, if yo~ know lem): .

               Vl (;        _o /2{ -. Ji4- J, D /l c.;           (
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                                                                               )                 Jo
        2 . Plaintiff,   -~/J1_,_(1_ )_t;_e_
                                          ---'-j+-    . --+-r--'-'
                                                ' _ _/)_                    { _/ _ _ _ _ resides at
                                                               Jlc.'--i-~___,:_

        ~2~t.>~,-_,_
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                                                             V£,,- A--~ 1 _
                                                                         aµ...<..1....,q.       _ __
        street address                                              city


        county
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                                         state
                                                      313«
                                                        z ip code
                                                                                                / J/_ <loo -~7sl~
                                                                                            telephone number

        (if more than one plaintiff, provide the same information for each plaintiff below)




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  3. Defendant, r 5 'A6/l./ 4       d        ,(,'r h (~   t· _    lives at, or its business is located at

       2 I      6(')     coJ     L.(.   r)       /4,J L/      Lt/ ,:ll {' j t' s:/P r·Tfl .
    street address                                   - 7 ----=---'-·              city
                                                                                         ;J"?ss:-r
     county                                           state                       zip code

  (if more than one defendant, provide the same information for each defendant below)




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Case 4:24-cv-00048-TRM-SKL Document 2 Filed 06/21/24 Page 3 of 5 PageID #: 14
  5. A demand for judgment for the relief you seek (list what you want the Court to do):

         a.         Ref..rf\          'flV
                                        7
                                               al'// j.z,             l'Uc

         b.



         C.




         d.




  I (We) hereby certify under penalty of perjury that the above complaint is true to the best of
  my (our) information, knowled and ber .




                                                               Signature of plaintiff (s)




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